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                Pblaustein@grnail.com


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                                    Thu, Sep 15, 5:59 PM


                We are good         proceed

                Please have Billy connect with My
                mom and she can sigh‘the dot:Sarycl
                proVide copies of her, information,

                                      Tuesday 8:55 AM



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